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                           UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:18-CV-20048-DPG


   SEBASTIAN GONZALEZ,

                  Plaintiff,

          v.

   TCR        SPORTS    BROADCASTING
   HOLDING, LLP d/b/a Mid-Atlantic Sports
   Network, HYUNDAI MOTOR AMERICA,
   INC., and MERCEDES-BENZ USA, LLC,

               Defendants.
   _____________________________________/

                    ORDER CERTIFYING SETTLEMENT CLASS AND
               PRELIMINARILY APPROVING CLASS ACTION SETTLEMENT

         Plaintiff Sebastian Gonzalez (“Plaintiff”) and Defendants TCR Sports Broadcasting

  Holding, LLP d/b/a Mid-Atlantic Sports Network (“MASN”), Hyundai Motor America, Inc.

  (“Hyundai”), and Mercedes-Benz USA, LLC (“Mercedes”) (MASN, Hyundai, and Mercedes each

  a “Defendant” and collectively the “Defendants”) (together, the “Parties”) agreed to settle this

  Action pursuant to the terms and conditions set forth in an executed Class Action Settlement

  Agreement (“Settlement”). The Parties reached the Settlement through arm’s-length negotiations

  after going through two full day mediation sessions with experienced mediators. Under the

  Settlement, and subject to Court approval, Plaintiff and the proposed Settlement Class will fully,

  finally, and forever resolve, discharge, and release their claims.

         The Settlement has been filed with the Court, and Plaintiff and Class Counsel filed an

  unopposed Motion for Preliminary Approval of Class Action Settlement (“Motion”). [ECF No.

  76] Upon considering the Motion, the Settlement and all exhibits thereto, the record in these
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  proceedings, the representations and recommendations of counsel, and the requirements of law,

  the Court finds that: (1) this Court has jurisdiction over the subject matter and the Parties to this

  Action; (2) the proposed Settlement Class meets the requirements of Federal Rule of Civil

  Procedure 23 and should be certified for settlement purposes only; (3) the persons and entities

  identified below should be appointed Class Representative and Class Counsel; (4) the Settlement

  is the result of informed, good-faith, arm’s-length negotiations between the Parties and their

  capable and experienced counsel, and is not the result of collusion; (5) the Settlement is within the

  range of reasonableness and should be preliminarily approved; (6) the proposed Notice program

  and proposed forms of Notice satisfy Federal Rule of Civil Procedure 23 and constitutional due

  process requirements, and are reasonably calculated under the circumstances to apprise the

  Settlement Class of the pendency of the Action, class certification, the terms of the Settlement,

  Class Counsel’s application for an award of attorneys’ fees and expenses (“Fee Application”) and

  request for a Service Award for Plaintiff, and their rights to opt-out of the Settlement Class or

  object to the Settlement, Class Counsel’s Fee Application, and/or the request for a Service Award

  for Plaintiff; (7) good cause exists to schedule and conduct a Final Approval Hearing, pursuant to

  Federal Rule of Civil Procedure 23(e), to assist the Court in determining whether to grant Final

  Approval of the Settlement and enter the Final Approval Order, and whether to grant Class

  Counsel’s Fee Application and request for a Service Award for Plaintiff; and (8) the other related

  matters pertinent to the Preliminary Approval of the Settlement should also be approved.

         Based on the foregoing, IT IS HEREBY ORDERED AND ADJUDGED as follows:

         1.      As used in this Preliminary Approval Order, unless otherwise noted, capitalized

  terms shall have the definitions and meanings accorded to them in the Settlement.




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         2.      The Court has jurisdiction over the subject matter and Parties to this proceeding

  pursuant to 28 U.S.C. §§ 1331, 1332.

         3.      Venue is proper in this District.

    Provisional Class Certification and Appointment of Class Representative and Class Counsel

         4.      It is well established that “[a] class may be certified solely for purposes of

  settlement [if] a settlement is reached before a litigated determination of the class certification

  issue.” Borcea v. Carnival Corp., 238 F.R.D. 664, 671 (S.D. Fla. 2006) (internal quotation marks

  omitted). In deciding whether to provisionally certify a settlement class, a court must consider the

  same factors that it would consider in connection with a proposed litigation class – i.e., all Rule

  23(a) factors and at least one subsection of Rule 23(b) must be satisfied – except that the Court

  need not consider the manageability of a potential trial, since the settlement, if approved, would

  obviate the need for a trial. Id.; Amchem Products, Inc. v. Windsor, 521 U.S. 591, 620 (1997).

         5.      The Court finds, for settlement purposes, that the Federal Rule of Civil Procedure

  23 factors are present and that certification of the proposed Settlement Class is appropriate under

  Rule 23. The Court therefore provisionally certifies the following Settlement Class.

         All Persons who received one or more text messages sent by or on behalf
         of Defendant MASN on a cellular phone between December 12, 2013 and
         the date the Class Action Settlement Agreement is preliminarily approved.
         Excluded from the Settlement Class are: (i) the trial judge presiding over
         this case; (ii) MASN, as well as any parent, subsidiary, affiliate, or control
         person of MASN, and the officers, directors, agents, servants, or employees
         of MASN; (ii) any of the Released Parties; (iv) the immediate family of any
         such person(s); (v) any Settlement Class Member who has timely opted out
         of this proceeding; and (vi) Plaintiff’s Counsel, their employees, and their
         immediate family.

         6.      Specifically, the Court finds, for settlement purposes and conditioned on final

  certification of the proposed class and on the entry of the Final Approval Order, that the Settlement

  Class satisfies the following factors of Federal Rule of Civil Procedure 23:



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               (a)        Numerosity: In the Action, over 211,000 individuals received text messages

  from MASN, and may be Settlement Class members. The proposed Settlement Class is thus so

  numerous that joinder of all members is impracticable.

               (b)        Commonality: “[C]ommonality requires the plaintiff to demonstrate that the

  class members ‘have suffered the same injury,’” and the plaintiff’s common contention “must be

  of such a nature that it is capable of classwide resolution – which means that determination of its

  truth or falsity will resolve an issue that is central to the validity of each one of the claims in one

  stroke. Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011) (citation omitted). Here, the

  commonality requirement is satisfied. Multiple questions of law and fact centering on Defendants’

  class-wide practices are common to the Plaintiff and the Settlement Class, are alleged to have

  injured all members of the Settlement Class in the same way, and would generate common answers

  central to the viability of the claims were this case to proceed to trial.

               (c)        Typicality: The Plaintiff’s claims are typical of the Settlement Class

  because they concern the same alleged Defendants’ practices, arise from the same legal theories,

  and allege the same types of harm and entitlement to relief. Rule 23(a)(3) is therefore satisfied.

  See Kornberg v. Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality

  satisfied where claims “arise from the same event or pattern or practice and are based on the same

  legal theory”); Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are

  typical of the class where they “possess the same interest and suffer the same injury as the class

  members”).

               (d)        Adequacy: Adequacy under Rule 23(a)(4) relates to: (1) whether the

  proposed class representatives have interests antagonistic to the class; and (2) whether the

  proposed class counsel has the competence to undertake the litigation at issue. See Fabricant




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  v. Sears Roebuck, 202 F.R.D. 310, 314 (S.D. Fla. 2001). Here, Rule 23(a)(4) is satisfied

  because there are no conflicts of interest between the Plaintiff and the Settlement Class, and

  Plaintiff has retained competent counsel to represent him and the Settlement Class. Class

  Counsel regularly engage in consumer class litigation, complex litigation, and other litigation

  similar to this Action, and have dedicated substantial resources to the prosecution of the

  Action. Moreover, the Plaintiff and Class Counsel vigorously and competently represented the

  Settlement Class in the Action. See Lyons v. Georgia-Pacific Corp. Salaried Employees Rel.

  Plan, 221 F.3d 1235, 1253 (11th Cir. 2000).

              (e)          Predominance and Superiority: Rule 23(b)(3) is satisfied because the

  common legal and alleged factual issues here predominate over individualized issues, and

  resolution of the common issues for the members of the Settlement Class in a single,

  coordinated proceeding is superior to thousands of individual lawsuits addressing the same legal

  and factual issues. With respect to predominance, Rule 23(b)(3) requires that “[c]ommon issues

  of fact and law . . . ha[ve] a direct impact on every class member’s effort to establish liability

  that is more substantial than the impact of individualized issues in resolving the claim or claims

  of each class member.” Sacred Heart Health Sys., Inc. v. Humana Military Healthcare Servs.,

  Inc., 601 F.3d 1159, 1170 (11th Cir. 2010) (internal quotation marks omitted). Here, common

  questions present a significant aspect of the case and can be resolved for all members of the

  Settlement Class in a single adjudication. In a liability determination, those common issues

  would predominate over any issues that are unique to individual members of the Settlement

  Class. Moreover, each member of the Settlement Class has claims that arise from the same or

  similar alleged MASN practices as well as the same legal theories.

         7.         The Court appoints Plaintiff, Sebastian Gonzalez, as Class Representative.




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         8.      The Court appoints David P. Milian and Ruben Conitzer of the law firm Carey

  Rodriguez Milian Gonya LLP as Class Counsel.

         9.      The Court recognizes that Defendants reserve all of their defenses and objections

  against and rights to oppose any request for class certification in the event that the proposed

  Settlement does not become Final for any reason. Defendants also reserve their defenses to the

  merits of the claims asserted in the event the Settlement does not become Final for any reason.

                               Preliminary Approval of the Settlement

         10.     At the preliminary approval stage, the Court’s task is to evaluate whether the

  Settlement is within the “range of reasonableness.” 4 Newberg on Class Actions § 11.26.

  “Preliminary approval is appropriate where the proposed settlement is the result of the parties’

  good faith negotiations, there are no obvious deficiencies and the settlement falls within the

  range of reason.” Smith v. Wm. Wrigley Jr. Co., 2010 WL 2401149, at *2 (S.D. Fla. Jun. 15,

  2010). Settlement negotiations that involve arm’s length, informed bargaining with the aid of

  experienced counsel support a preliminary finding of fairness. See Manual for Complex

  Litigation, Third, § 30.42 (West 1995) (“A presumption of fairness, adequacy, and

  reasonableness may attach to a class settlement reached in arm’s-length negotiations between

  experienced, capable counsel after meaningful discovery.”) (internal quotation marks omitted).

         11.     The Court preliminarily approves the Settlement, together with all exhibits

  thereto, as fair, reasonable, and adequate. The Court finds that the Settlement was reached in

  the absence of collusion, is the product of informed, good-faith, arm’s-length negotiations

  between the Parties and their capable and experienced counsel. The Court further finds that the

  Settlement, including the exhibits thereto, is within the range of reasonableness and possible

  judicial approval, such that: (a) a presumption of fairness is appropriate fo r the purposes of




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  preliminary settlement approval; and (b) it is appropriate to effectuate notice to the Settlement

  Class, as set forth below and in the Settlement, and schedule a Final Approval Hearing to assist

  the Court in determining whether to grant Final Approval to the Settlement and enter a Final

  Approval Order.

                          Approval of Class Notice and the Claims Process

         12.     The Court approves the form and content of the Claim Form substantially in the

  form attached as Exhibit A to the Settlement, as well as the Class notices, substantially in the

  forms attached as Exhibits B, C and D to the Settlement. The Court further finds that the Class

  Notice program described in the Settlement is the best practicable under the circumstances. The

  Class Notice program is reasonably calculated under the circumstances to inform the Settlement

  Class of the pendency of the Action, certification of a Settlement Class, the terms of the

  Settlement, Class Counsel’s attorney’s fees application and the request for Service Award for

  Plaintiff, and their rights to opt-out of the Settlement Class or object to the Settlement. The Class

  notices and Class Notice program constitute sufficient notice to all persons entitled to notice.

  The Class notices and Class Notice program satisfy all applicable requirements of law, including,

  but not limited to, Federal Rule of Civil Procedure 23 and the Constitutional requirement of Due

  Process.

         13.     Angeion Group shall serve as the Administrator. The Administrator shall

  implement the Class Notice program, as set forth below and in the Settlement, using the Class

  notices substantially in the forms attached as Exhibits B, C, and D to the Settlement and approved

  by this Preliminary Approval Order. Notice shall be provided to the members of the Settlement

  Class pursuant to the Class Notice program, as specified in the Settlement and approved by this

  Preliminary Approval Order. The Class Notice program shall include, to the extent necessary,




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  Email Notice, Mail Notice, and Long-Form Notice, as set forth in the Settlement and below.

                                             Email Notice

         14.     The Administrator shall administer Email Notice as set forth in the Settlement.

  Email Notice shall be completed no later than March 22, 2019.

                                              Mail Notice

         1.      The Administrator shall administer Mail Notice as set forth in the Settlement. Mail

  Notice shall be completed no later than March 22, 2019.

                                          Settlement Website

         2.       The Administrator shall establish a Settlement Website as a means for Settlement

  Class members to obtain notice of, and information about, the Settlement. The Settlement Website

  shall be established as soon as practicable following Preliminary Approval, but no later than before

  commencement of the Class Notice program. The Settlement Website shall include an online

  portal to file Claim Forms, hyperlinks to the Settlement, the Long-Form Notice, the Preliminary

  Approval Order, and other such documents as Class Counsel and counsel for Defendant agree to

  include. These documents shall remain on the Settlement Website until at least sixty (60) days

  following the Claim Deadline.

         3.      The Administrator is directed to perform all substantive responsibilities with

  respect to effectuating the Class Notice program, as set forth in the Settlement.

                          Final Approval Hearing, Opt-Outs, and Objections

         4.      A Final Approval Hearing shall be held before this Court on May 16, 2019 at 10:00

  a.m. to determine whether to grant Final Approval to the Settlement and to enter a Final Approval

  Order, and whether Class Counsel’s Fee Application and request for a Service Award for the Class

  Representative should be granted.




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         5.      Any person within the Settlement Class who wishes to be excluded from the

  Settlement Class may exercise their right to opt-out of the Settlement Class by following the opt-

  out procedures set forth in the Settlement and in the Notices at any time during the Opt-Out Period.

  To be valid and timely, opt-out requests must be received by all those listed in the Long-Form

  Notice on or before the last day of the Opt-out Period, which is April 16, 2019 (“Opt-Out

  Deadline”), and mailed to the addresses indicated in the long form Notice attached to the

  Settlement as Exhibit B.

         6.      Any Settlement Class Member may object to the Settlement, Class Counsel’s Fee

  Application, or the request for a Service Award for Plaintiff. Any such objections must be mailed

  to the Clerk of the Court, Class Counsel, and MASN’s Counsel, at the addresses indicated in the

  long-form Notice. For an objection to be considered by the Court, the objection must be

  postmarked no later than April 16, 2019 as set forth in the Notice. To be valid, an objection must

  include the following information:

         a. the name of the Action;

         b. the objector’s full name, address, and telephone number;

         c. an explanation of the basis upon which the objector claims to be a Settlement Class

              Member;

         d. all grounds for the objection, accompanied by any legal support for the objection

              known to the objector or his counsel;

         e. the number of times in which the objector has objected to a class action settlement

              within the five years preceding the date that the objector files the objection, the caption

              of each case in which the objector has made such an objection, and a copy of any orders




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                related to or ruling upon the objector’s prior such objections that were issued by the

                trial and appellate courts in each listed case;

           f. the identity of all counsel who represent the objector, including any former or current

                counsel who may be entitled to compensation for any reason related to the objection to

                the Settlement or Fee Application;

           g. a copy of any orders related to or ruling upon the objector’s counsel’s or the counsel’s

                law firm’s prior objections made by individuals or organizations represented by them

                that were issued by the trial and appellate courts in each listed case in which the

                objector’s counsel and/or counsel’s law firm have objected to a class action settlement

                within the preceding 5 years;

           h. any and all agreements that relate to the objection or the process of objecting— whether

                written or oral—between objector or objector’s counsel and any other person or entity;

           i. the identity of all counsel (if any) representing the objector who will appear at the Final

                Approval Hearing;

           j. a statement confirming whether the objector intends to personally appear and/or testify

                at the Final Approval Hearing;

           k. a list of all persons who will be called to testify at the Final Approval Hearing in support

                of the objection; and

           l. the objector’s signature (an attorney’s signature is not sufficient).

                 Further Papers in Support of Settlement and Attorney’s Fee Application

           7.       Plaintiff and Class Counsel shall file their Motion for Final Approval of the

   Settlement, Fee Application and request for a Service Award for Plaintiff, no later than April 1,

   2019.




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          8.          Plaintiff and Class Counsel shall file their responses to timely filed objections to

   the Motion for Final Approval of the Settlement, the Fee Application and/or request a Service

   Award for Plaintiff no later than May 6, 2019.

                                    Effect of Failure to Approve Settlement

          9.          If the Settlement is not finally approved by the Court, or for any reason the Parties

   fail to obtain a Final Approval Order as contemplated in the Settlement, or the Settlement is

   terminated pursuant to its terms for any reason, then the following shall apply:

                (a)          All orders and findings entered in connection with the Settlement shall

   become null and void and have no further force and effect, shall not be used or referred to for any

   purpose whatsoever, and shall not be admissible or discoverable in any other proceeding;

                (b)          Nothing in this Preliminary Approval Order is, or may be construed as, any

   admission or concession by or against MASN or Plaintiff on any point of fact or law; and

                (c)          Neither the Settlement terms nor any publicly disseminated information

   regarding the Settlement, including, without limitation, the Class Notice, court filings, orders and

   public statements, may be used as evidence. In addition, neither the fact of, nor any documents

   relating to, either Party’s withdrawal from the Settlement, any failure of the Court to approve the

   Settlement and/or any objections or interventions may be used as evidence.

                                        Stay/Bar of Other Proceedings

          10.         All proceedings in the Action are stayed until further order of the Court, except as

   may be necessary to implement the terms of the Settlement. Pending final determination of whether

   the Settlement should be approved, Plaintiff, all persons in the Settlement Class, and persons

   purporting to act on their behalf are enjoined from commencing or prosecuting (either directly,

   representatively or in any other capacity) against any of the Released Parties any action or




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   proceeding in any court, arbitration forum or tribunal asserting any of the Released Claims.

          11.     Based on the foregoing, the Court sets the following schedule for the Final

   Approval Hearing and the actions which must take place before and after such hearing:

               Event                        Date                         Timeline
 Deadline for Completion of          March 22, 2019          35 days after entry of the
 Mailed Notice                                               Preliminary Approval Order
 Deadline for Email Notice           March 22, 2019          35 days after entry of the
                                                             Preliminary Approval Order
 Deadline for filing Motion for      April 1, 2019           45 days before the Final Approval
 Final Approval of the Settlement                            Hearing
 Deadline for filing Class           April 1, 2019           45 days before the Final Approval
 Counsel’s Fee Application and                               Hearing
 expenses, and for a Service
 Award
 Deadline for opting-out of the      April 16, 2019          30 days before the Final Approval
 Settlement and for submission of                            Hearing
 Objections
 Deadline for Responses to           May 6, 2019             10 days before the Final Approval
 Objections                                                  Hearing
                                     May 16, 2019            90 days after entry of the
 Final Approval Hearing                                      Preliminary Approval Order
 Last day Class Claimants may        July 15, 2019           60 days after entry of the Final
 submit a Claim Form                                         Approval Order



          DONE and ORDERED in Chambers in Miami, Florida, this 14th day of February, 2019.




                                                        __________________________________
                                                        DARRIN P. GAYLES
                                                        UNITED STATES DISTRICT JUDGE



   Copies furnished to: Counsel of Record.




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